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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS
____________________________________________________
STATEWIDE TOWING ASSOCIATION, INC., )                 Civil Action No.: __________________________
TOWING AND RECOVERY ASSOCIATION )
OF AMERICA, INC., C&L TOWING, LLC,                  )
WALTHAM AUTO TOW, INC.,                             )
INTERSTATE WRECKER SERVICE, INC.,                   )
SCHLAGER'S AUTO BODY REPAIR, INC., )
and TODISCO SERVICES, INC.,                         )
                                                    )
        Plaintiffs,                                 )
                                                    )
v.                                                  )
                                                    )
MASSACHUSETTS STATE POLICE,                         )
                                                    )
        Defendant.                               ___)

                                          COMPLAINT

       Plaintiffs, Statewide Towing Association, Inc., Towing and Recovery Association of
America, Inc., C&L Towing, LLC, Waltham Auto Tow, Inc., Interstate Wrecker Service, Inc.,
Schlager's Auto Body Repair, Inc., and Todisco Services, Inc. (hereinafter collectively
“Plaintiffs”), by and through their attorneys, file their complaint against the Massachusetts
State Police (hereinafter “MSP”) and state the following:

                                             PARTIES

   1. The Plaintiff, Statewide Towing Association, Inc. (hereinafter “STA”), is a
      Massachusetts nonprofit corporation with a principal office at 27 South Hunt Road,
      Amesbury, Essex County, Massachusetts. STA is an organization representing the
      towing and recovery industry in the Commonwealth. The MSP’s proposed Request
      for Response # SP20-TOW-X81 (hereinafter “RFR”), which is the subject of this
      litigation, affects many of STA’s members, including those named as co-Plaintiffs.

   2. The Plaintiff, Towing and Recovery Association of America, Inc. (hereinafter "TRAA")
      is a Florida nonprofit corporation with a principal office at 700 12th Street NW, Suite
      700, Washington, DC 20005. TRAA is a national organization representing the towing
      and recovery industry in the United States. The MSP's proposed RFR affects many of
      the TRAA's members, as well as the TRAA itself, as the proposed RFR specifically
      excludes the TRAA as an approved training program.

   3. The Plaintiff, C&L Towing, LLC (hereinafter “C&L”), is a Massachusetts limited liability
      company with a principal office at 298 North Street, Randolph, Norfolk County,



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   Massachusetts. C&L is a towing and recovery company located within the MSP’s
   Troop H barracks and will be affected by the MSP’s proposed RFR.

4. The Plaintiff, Waltham Auto Tow, Inc. (hereinafter “WAT”), is a Massachusetts
   corporation with a principal office at 281 Crescent Street, Waltham, Middlesex
   County, Massachusetts. WAT is a towing and recovery company located within the
   MSP’s Troop H barracks and will be affected by the MSP’s proposed RFR.

5. The Plaintiff, Interstate Wrecker Service, Inc. (hereinafter “Interstate”) is a
   Massachusetts corporation with a principle office at 239 Revere Street, Canton,
   Norfolk County, Massachusetts. Interstate is a towing and recovery company located
   within the MSP’s Troop H barracks and will be affected by the MSP’s proposed RFR.

6. The Plaintiff, Schlager's Auto Body Repair, Inc. (hereinafter “Schlager”) is a
   Massachusetts corporation with a principle office at 299 Centre Street, Quincy,
   Norfolk County, Massachusetts. Schlager is a towing and recovery company located
   within the MSP’s Troop H barracks and will be affected by the MSP’s proposed RFR.

7. The Plaintiff, Todisco Services, Inc. (hereinafter "Todisco") is a Massachusetts
   corporation with a principle office at 94 Rear Condor Street, East Boston, Middlesex
   County, Massachusetts. Todisco is a towing and recovery company located within the
   MSP's Troop H barracks and will be affected by the MSP's proposed RFR.

8. The Defendant, MSP, is an agency within the Executive Office of Public Safety and
   Security, an administrative branch of the government of the Commonwealth of
   Massachusetts, and is located at 470 Worcester Road, Framingham, Middlesex
   County, Massachusetts. The MSP has initiated the RFR which is the subject of this
   litigation.

                            JURISDICTION AND VENUE

9. The case presents a federal question within this Court’s jurisdiction under 28 USC §
   1331, namely 49 USC § 14501 (Federal Aviation Administration Authorization Act).

10. Declaratory relief is authorized under 28 USC §§ 2201 and 2202.

11. This Court has personal jurisdiction over MSP as it is an agency of the Commonwealth.

12. Venue is proper in this Court under 28 USC § 1391 because the parties reside in this
    District, and the events giving rise to Plaintiffs’ causes of action occurred in this
    District.

                                       FACTS

13. STA is an organization that represents in excess of two hundred (200) members in
    the towing and recovery industry within the Commonwealth. The MSP’s proposed


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          RFR, which is the subject of this litigation, affects many of STA’s members, including
          those named as co-Plaintiffs.

      14. On September 16, 2019, the MSP introduced the RFR. See Ex. 1.

      15. According to the RFR, the MSP is "soliciting bidders for the acquisition of Tow,
          Recovery, Service, and HAZMAT services, across the Commonwealth in order to
          maintain public safety and provide rapid assistance to motorists." See Id. at p. 1.

      16. Contrary to the MSP’s alleged stated purpose behind implementing the RFR, once the
          document is analyzed in great detail, the RFR is an unprecedented, usurpation of
          power by the MSP over towing and recovery companies within the Commonwealth.

      17. Within the RFR, there exists a myriad of regulatory provisions which are
          unreasonable, arbitrary, and conflict not only internally with the RFR itself, but with
          both federal and state law.

      18. In addition, the MSP has set unrealistic deadlines with which prospective towing and
          recovery companies are supposed to comply with in order to even apply under the
          RFR.

      19. The MSP is attempting to regulate the prices, routes, and services of towing and
          recovery companies without the requisite legal authority to do so.

      20. Regulatory authority over the towing and recovery industry in the Commonwealth is
          strictly reserved for the Department of Public Utilities1 (hereinafter "DPU") pursuant
          to M.G.L. c. 159B et. seq.

      21. The DPU’s exclusive regulatory authority is limited to the confines of regulation
          permissible under 49 USC § 14501.

      22. The RFR contains provisions which are impermissible under both federal and state
          law.

      23. The MSP is divided into six (6) different troop patrol areas, identified as Troop A – D,
          F, and H.

      24. Within each troop are several different barracks located in different cities/towns
          within the Commonwealth.

      25. Presently, the MSP is introducing the RFR in only the Troop H barracks but plans on
          introducing the RFR to the remainder of the Commonwealth after the initial Troop H
          implementation phase.


1   Formerly the Department of Telecommunications and Energy.


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26. TRAA is the only national trade association representing the towing and recovery
    industry in the United States and provides training to members of the industry
    through its National Driver Certification Program, which is the only such program
    recognized by the Federal Highway Administration.

27. TRAA has approximately thirty (30) currently certified towing and recovery
    companies in Massachusetts, some of whom will be directly affected by the MSP’s
    proposed regulation.

28. In addition to the TRAA, the RFR affects many of STA’s members as well, including
    those named as co-Plaintiffs.

29. For several decades, the MSP has had an agreement with various towing and recovery
    companies located throughout the Commonwealth to provide emergency services to
    the motoring public on the roadways which the MSP patrols.

30. The agreement between the MSP and the towing and recovery companies is
    memorialized in writing and entitled "Department of State Police Tow Service
    Agreement" (hereinafter "TSA"). See Ex. 2.

31. The TSA is the sole governing document between the MSP and towing and recovery
    companies.

32. The TSA outlines how a towing and recovery company can apply to be on the MSP’s
    tow list, the minimum insurance and equipment requirements, the differing
    categories to which a towing and recovery company can apply, required response
    times, what constitutes a violation of the TSA, the corresponding penalties associated
    with a violation of the TSA, and an administrative appeal process along with the
    responsibilities of the parties, among other things. See Id.

33. Under the current TSA regime, towing and recovery companies can apply to be on
    one, or multiple, of the MSP’s barrack’s tow lists if it meets the qualifications and there
    is a need for their services.

34. The proposed RFR would entirely scrap the TSA, leaving those towing and recovery
    companies currently performing services for the MSP under the TSA with no recourse
    and forcing them to re-apply under the RFR, and possibly losing areas they are
    already under contract to provide towing and recovery services.

35. Many of the towing and recovery companies that are currently contracted under the
    TSA have invested in excess of one million ($1,000,000.00) dollars in order to have
    the necessary equipment, training and facilities required by the TSA.

36. Many of the towing and recovery companies that are currently contracted under the
    TSA have entered into long-term loans and leases to finance the purchase of the



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   equipment that is necessary to comply with its requirements and suffer economic loss
   if they were displaced by the RFR.

37. In many, if not all cases, based on the equipment specifications contained in the RFR,
    towing and recovery companies will be required to invest large amounts of capital
    even if the MSP awards them the area that they currently service.

38. If the RFR is implemented, towing and recovery companies currently contracted
    under the TSA will lose important procedural appeal rights for any alleged violations
    of the terms and conditions that they currently enjoy.

39. The MSP aims to supplant the TSA with the proposed RFR which is comprised of
    unreasonable, arbitrary, and capricious regulation of both consensual and non-
    consensual components of the towing and recovery industry.

40. The RFR would also regulate the prices that towing, and recovery companies can
    charge for recovery services, which heretofore have never been regulated in
    Massachusetts, and would also contradict and conflict with the present regulations in
    force by the DPU.

41. Other than the very broad and vague introductory statement that the RFR is being put
    into effect "in order to maintain public safety and provide rapid assistance to
    motorists" there is nothing in the document to discern what, if any, safety concerns
    the new regulation is supposed to actually address.

42. It is unclear what the motivation of the MSP is to now implement these regulations.

43. Given the broad scope of towing and recovery activities that the regulation will affect,
    there is no obvious safety concern that is not already addressed under the current
    TSA or by the DPU.

44. There is no statutory authority for the MSP to promulgate these regulations which
    they seek to put into effect and enforce.

                           COUNT I – INJUNCTIVE RELIEF

45. The Plaintiff incorporates herein the allegations contained in paragraphs 1 through
    44 as if fully stated herein.

46. The MSP are impermissibly regulating the towing and recovery industry within the
    Commonwealth of Massachusetts in violation of 49 USC § 14501(c)(1) and usurps the
    authority of the DPU to regulate the industry pursuant to M.G.L c. 159B, et. seq. and
    conflict with 220 CMR 272.00 et. seq.

47. The RFR, once it is implemented, will terminate and replace the current TSA between
    the MSP and the towing and recovery companies that are signatories to the contract.


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    48. Towing and recovery companies that are currently in full compliance with the TSA
        and have invested large sums of money or incurred contractual debt in order to meet
        the requirements and specification of the RFR are at jeopardy of the benefits of their
        contract.

    49. The time frame outlined in the RFR does not afford towing and recovery companies
        sufficient time to amass the necessary equipment, licensing, training, and
        certifications required to bid.

    50. The MSP’s implementation of the RFR will result in irreparable injury, loss, and
        damage to the Plaintiffs due to the unreasonable and illegal requirements set by the
        MSP to be adhered to in an unrealistic timeframe.

    51. The Plaintiffs petition this Honorable Court to preliminarily enjoin the Defendant
        from implementing the RFR.

    52. The Plaintiffs petition this Honorable Court to preliminarily enjoin the Defendant
        from enforcing the November 14, 2019 2 bid submission deadline in the RFR.

    53. The Plaintiffs petition this Honorable Court to permanently enjoin the Defendant
        from implementing the RFR.

    54. The Plaintiffs petition this Honorable Court to permanently enjoin the Defendant
        from enforcing the November 14, 2019 bid submission deadline in the RFR.

   WHEREFORE, the Plaintiffs request that this Honorable Court find in the Plaintiffs' favor
and against the Defendants and enter the preliminary and permanent injunctions as
requested above.

                             COUNT II – DECLARATORY JUDGMENT

    55. The Plaintiff incorporates herein the allegations contained in paragraphs 1 through
        54 as if fully stated herein.

    56. An actual controversy has arisen between Plaintiffs and the Defendant as to whether
        the MSP lacks the authority to regulate the towing and recovery industry in the
        Commonwealth.

    57. Plaintiffs seek a declaratory judgment decreeing that MSP lacks the authority to
        regulate the towing and recovery industry in the Commonwealth.



2The original bid submission deadline was set for October 24, 2019. On October 23, 2019, the Commonwealth
extended the bid submission deadline to November 14, 2019.


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   58. An actual controversy has arisen between Plaintiffs and the Defendant as to whether
       the MSP is usurping the authority of the DPU which is the sole governing body
       charged with regulating the towing and recovery industry in the Commonwealth.

   59. Plaintiffs seek a declaratory judgment decreeing that MSP is usurping the authority
       of the DPU which is the sole governing body charged with regulating the towing and
       recovery industry in the Commonwealth.

   60. An actual controversy has arisen between Plaintiffs and the Defendant as to whether
       the RFR violates federal law, including, but not limited to, 49 USC § 14501(c)(1), 49
       USC § 14506(a), 49 USC § 521(b), and 26 CFR § 1926.1400(c)(3).

   61. Plaintiffs seek a declaratory judgment decreeing that the RFR violates federal law,
       including, but not limited to, 49 USC § 14501(c)(1), 49 USC § 14506(a), 49 USC §
       521(b), and 26 CFR § 1926.1400(c)(3).

   62. An actual controversy has arisen between Plaintiffs and the Defendant as to whether
       the RFR violates state law, including, but not limited to, M.G.L. c. 159B, § 6B and 220
       CMR 272.00 et seq.

   63. Plaintiffs seek a declaratory judgment decreeing that the RFR violates and conflicts
       with M.G.L. c. 159B, § 6B and 220 CMR 272.00 et seq.

   64. An actual controversy has arisen between Plaintiffs and the Defendant as to whether
       the RFR is unreasonable, arbitrary and capricious.

   65. Plaintiffs seek a declaratory judgment decreeing that RFR is unreasonable, arbitrary
       and capricious.

   WHEREFORE, the Plaintiffs request that this Honorable Court find in the Plaintiffs' favor
and against the Defendants and enter a declaratory judgment as requested above.

                                DEMAND FOR JURY TRIAL

        Pursuant to Fed. R. Civ. P. 38, Plaintiffs hereby demand a jury trial on all issues so
triable.




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                         Respectfully Submitted,
                         Statewide Towing Association, Inc., Towing and
                         Recovery Association of America, Inc., C&L
                         Towing, LLC, Waltham Auto Tow, Inc., Interstate
                         Wrecker Service, Inc., Schlager's Auto Body
                         Repair, Inc., and Todisco Services, Inc.,
                         By their Attorneys,

                         ____/s/ Patrick T. Matthews __
                         Patrick T. Matthews, Esquire
                         B.B.O. # 629498
                         PTMatthews@fallriverattorneys.com

                         ____/s/ Brian M. Tavares _____
                         Brian M. Tavares, Esquire
                         B.B.O. # 685949
                         BTavares@fallriverattorneys.com

                         ____/s/ Caitlin D. Oliver_____ __
                         Caitlin D. Oliver, Esquire
                         B.B.O. # 687238
                         Caitlin@fallriverattorneys.com

                         ____/s/ Jordan J. Rodrigues____
                         Jordan J. Rodrigues, Esquire
                         B.B.O. # 696365
                         JRodrigues@fallriverattorneys.com

                         Coastal Legal Affiliates, P.C.
                         251 Bank Street
                         Fall River, MA 02720
                         Tel: (508) 676-6900
                         Fax: (508) 676-9908




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